Case 17-12067-JDW        Doc 93    Filed 11/07/17 Entered 11/07/17 12:38:32             Desc Main
                                   Document     Page 1 of 2


                        UNITED STATES BANKRUPTCY COURT
                        NORTHERN DISTRICT OF MISSISSIPPI

   IN RE: LENARD V. UMBERGER
   AND JOANN A. UMBERGER                                        CHAPTER 13

   DEBTORS                                                      CASE NO. 17-12067 JDW

                   OBJECTION TO PROOF OF CLAIM FILED BY
                ONEMAIN FINANCIAL SERVICES, INC. [ CLAIM NO. 1]

          COME NOW the above-named debtors, by and through their attorney of record

   in this case, and objects to the Proof of Claim filed in this case by Portfolio Recovery

   Associates, LLC and in support hereof respectfully shows unto the Court the following:

          1.       Portfolio Recovery Associates, LLC filed a proof of claim as a secured

   creditor in the amount of $770.32 original being in the Court file.

          2.       The claim fails to include evidence the creditor has a perfected security

   interest in any of the collateral of the estate. Therefore, the claim should be treated as

   unsecured.

          3.       The claim of Portfolio Recovery Associates, LLC should be treated as an

   unsecured claim or wholly disallowed and paid $0.00 through this plan, or the amount

   already paid.

          4.       Other grounds to be shown at the hearing.

          WHEREFORE, the debtor prays of the Court that this Objection be received and

   filed, and at the hearing hereon the debtor’s Objection be sustained, and for such other,

   further and general relief to which the Debtor may be entitled.

                   This the 3rd day of November, 2017.

                                         /s/Robert H. Lomenick
                                         KAREN B. SCHNELLER, MSB 6558
                                         ROBERT H. LOMENICK, JR., MSB 104186
                                         SCHNELLER & LOMENICK, P.A.
                                         126 NORTH SPRING STREET
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Case 17-12067-JDW       Doc 93    Filed 11/07/17 Entered 11/07/17 12:38:32           Desc Main
                                  Document     Page 2 of 2




                                 CERTIFICATE OF SERVICE

             I, Karen B. Schneller/Robert H. Lomenick, attorney for the Debtor, hereby
   certify that a copy of the foregoing objection to proof of claim has this day been served
   upon the Chapter 13 Trustee, the U.S. Trustee and Onemain Financial Services, either by
   electronic means or by United States Mail.

   Portfolio Recovery Associates, LLC
   Post Office Box 41067
   Norfolk, VA 23541

   Ms. Locke D. Barkley
   Chapter 13 Trustee
   6360 I-55 North, Suite 140
   Jackson, MS 39211

   Office of U.S. Trustee
   501 East Court Street, Suite 6-430
   Jackson, Mississippi 39201

            This the 3rd day of November, 2017

                                                 /s/Robert H. Lomenick
                                                 KAREN B. SCHNELLER
                                                 ROBERT H. LOMENICK
